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                        IN THE UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF GEORGIA

                                      DUBLIN DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        ) CR 314-002
                                                 )
CHRISTOPHER DERRICK DUTY                         )



                                           ORDER


       Before the Court are the various pre-trial discovery motions filed by the parties. Many (if

not all) discovery issues should be addressed in full by the Court’s rulings below and the liberal

discovery policy that the government has confirmed it is applying in this case. To the extent, if

any, either party believes there are specific inadequacies in the discovery exchanged to date that

are not addressed below, the Court directs such party to confer in good faith with the opposing

party and file, if necessary, a discovery motion and supporting brief by October 20, 2014.

                             GENERAL DISCOVERY MOTION

       As to Defendant’s general discovery requests, Defendant does not allege any specific

inadequacies in the discovery provided by the government to date, presumably because of the

government’s statement that it has followed in this case its customary practice of providing

liberal discovery by furnishing Defendant with investigative reports, Defendant’s criminal

history, audio and video recordings, and other documentary materials as set forth in the First

Certificate of Disclosure. (Doc. no. 173; doc. no. 226, p. 1.) Accordingly, the Court finds that
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the position of the United States Attorney in permitting liberal disclosure of the government’s

file pertaining to this case renders the general discovery requests MOOT. (Doc. no. 144.)

                         MOTION FOR A BILL OF PARTICULARS

       Defendant is charged with one count of Conspiracy to Possess with Intent to Distribute

and to Distribute Controlled Substances, in violation of 21 U.S.C. §§ 841(a)(1) and 846, and

three counts of Use of a Communication Facility in committing, causing, and facilitating the

charged conspiracy, in violation of 21 U.S.C. § 843(b). Defendant filed this motion seeking

from the government information concerning the exact time, date and place the alleged crimes as

set forth in the indictment occurred; the exact manner in which Defendant is alleged to have

participated in the charged conspiracy; the places at which each overt act on which the

prosecution intends to rely at trial were allegedly performed; the specific nature of the acts

Defendant is alleged to have personally performed; the identification of all of the persons present

during each of the acts allegedly performed; the names of all witnesses who testified before the

Grand Jury whether or not each witness testified from personal knowledge or through hearsay;

whether the government obtained any information concerning the matters alleged in the

indictment by means of electronic listening devices, wiretaps, telephonic tapes or other forms of

electronic surveillance, and if so, the circumstances in each instance, giving the date, time, place

and means used in obtaining such information; whether any leads or evidence procured by the

government resulted from any search of any premises, personal property or vehicles owned by

Defendant; whether the government performed or caused to be performed any scientific tests in




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connection with the matters in the indictment; the identity of “others” wherever set forth in the

indictment; and, the identity of any unindicted co-conspirators or co-racketeers known to the

government. (Doc. no. 140, pp. 1-3.)

       Rule 7(f) of the Federal Rules of Criminal Procedure provides that a defendant may seek

from the Court a bill of particulars setting forth the time, place, manner, and means of

commission of the crime alleged in the indictment. The purpose of the bill of particulars is to

give notice of the offenses charged in the indictment so that a defendant may prepare a defense,

avoid surprise, or raise pleas of double jeopardy when the indictment itself is too vague for such

purposes. United States v. Anderson, 799 F.2d 1438, 1441 (11th Cir. 1986) (quoting United

States v. Cole, 755 F.2d 748, 760 (11th Cir. 1985)). Where necessary, the bill of particulars

supplements the indictment by providing the accused with information necessary for trial

preparation. Id. Generalized discovery is not a proper purpose in seeking a bill of particulars.

United States v. Warren, 772 F.2d 827, 837 (11th Cir. 1985) (quoting United States v. Colson,

662 F.2d 1389, 1391 (11th Cir. 1981)). Nor is it a device intended to secure for the defense the

government’s explanation of its theory of the case. United States v. Hajecate, 683 F.2d 894, 898

(5th Cir. 1982). Absent a showing that a defendant cannot prepare a defense without the

government providing the identity or identities of an unindicted co-conspirator(s), such

information need not be revealed in response to a motion for a bill of particulars. Warren, 772

F.2d at 837.

       The determination of whether a bill of particulars should be ordered may only be decided

in light of the particular circumstances of each case. United States v. Davis, 582 F.2d 947, 951



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(5th Cir. 1987). The question is committed to the sound discretion of the trial court whose

decision will be reversed only where denial of the motion results in surprise to a defendant at

trial resulting in prejudice to his substantial rights. United States v. Hawkins, 661 F.2d 436, 451-

52 (5th Cir. Unit B Nov. 1981). The indictment in the case is specific and supports each of the

requisite elements of the charged offenses. In addition, the government has provided liberal

discovery consisting of investigative reports, Defendant’s criminal history, audio and video

recordings, and other documentary materials as set forth in the First Certificate of Disclosure

(doc. no. 173). Because the government appears to have provided all information essential for

trial preparation by the defense, the Court DENIES Defendant’s motion. (Doc. no. 140.)

                             MOTION FOR DISCLOSURE OF
                       EXCULPATORY AND IMPEACHING MATERIAL

        Defendant seeks the disclosure of exculpatory and impeaching information in accordance

with the principles of Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v. United States, 405

U.S. 150 (1972). (Doc. no. 142.) To some extent, Defendant’s requests exceed the scope of the

requirement in Brady for government disclosure of information that is favorable to a defendant

and material to the issues of guilt or punishment. Brady, 373 U.S. at 87; United States v. Agurs,

427 U.S. 97 (1976). The Court GRANTS the motion to the extent that the government must

provide all Brady material to Defendant within five days of the date it is received or its existence

becomes known. The government must disclose impeaching information not less than fourteen

days prior to trial.




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           MOTION FOR DISCLOSURE OF ELECTRONIC SURVEILLANCE

        In this motion, Defendant seeks the disclosure of all electronic surveillance. The

government deems this motion satisfied by its liberal discovery policy and states audio and video

recordings have already been provided as set forth in the First Certificate of Disclosure. (Doc.

no. 173; doc. no. 226, p. 1.) In light of the government’s liberal discovery policy and the

disclosure that copies of such information have been made available, the motion for disclosure of

electronic surveillance is MOOT. (Doc. no. 143.)

                             MOTION TO RESERVE THE RIGHT
                              TO FILE ADDITIONAL MOTIONS

        This motion filed by Defendant is DENIED . (Doc. no. 146.) The Court ordered that all

motions in this case were to be filed by August 4, 2014. (See doc. no. 126, p. 2.) A motion may

not be filed outside the deadlines set at arraignment except by leave of court upon a showing of

cause. United States v. Smith, 918 F.2d 1501, 1509 (11th Cir. 1990); see Fed. R. Crim. P. 12(c),

(e). This Order, however, does not prohibit Defendant from making his showing of cause

contemporaneously with the filing of out-of-time motions.

                  MOTION TO ALLOW PARTICIPATION IN VOIR DIRE

        The Court GRANTS this motion. (Doc. no. 149.) Unless otherwise directed by the

presiding District Judge, counsel must submit to the Court, not later than seven days prior to

trial, a list of questions which they desire to ask prospective jurors.

                         MOTION FOR RECIPROCAL DISCOVERY

        The government seeks reciprocal discovery from Defendant under Rule 16(b) of the

Federal Rules of Criminal Procedure, including a written summary of any evidence Defendant


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intends to offer under Fed. R. Evid. 702, 703, or 705. In light of the government’s willingness to

provide liberal discovery and the unopposed nature of the request, the Court GRANTS this

motion (doc. no. 225), and any information not yet furnished shall be provided to the

government no later than fourteen days prior to trial.

       SO ORDERED this 14th day of October, 2014, at Augusta, Georgia.



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                                                              BRIAN K E S
                                                              UNITED STATES MAGISTRATE JUDGE
                                                              SOUTHERN DISTRICT OF GEORGIA




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